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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                   )
BERNER FOOD & BEVERAGE, INC.,                      )
                                                   )
                      Plaintiff,                   )
                                                   ) Case No. 1:09-CV-05559
       v.                                          )
                                                   ) Judge Blanche M. Manning
DIABLO VALLEY PACKAGING, INC.,                     )
SAN MIGUEL CORPORATION,                            ) Magistrate Judge Geraldine Soat Brown
WORLDPAK INTERNATIONAL, LLC,                       )
                                                   )
                      Defendants.                  )


                               STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiff Berner Food & Beverage, Inc.

(“Berner”) and defendants Diablo Valley Packaging, Inc. (“DVP”) and WorldPak International,

LLC (“WorldPak”) hereby stipulate and agree as follows:

       1.     The above-captioned matter is hereby dismissed subject to the terms of the

Settlement Agreement and Release dated December 21, 2010 between Berner, DVP and

WorldPak.

       2.     The dismissal shall be without prejudice with respect to Berner’s claims against

San Miguel Corporation and Adina for Life, Inc. The dismissal shall be with prejudice with

respect to Berner’s claims against DVP and WorldPak, except that the dismissal shall be subject

to reinstatement against DVP and/or WorldPak if the check that party delivered pursuant to the

Settlement Agreement and Release fails to clear.

       3.     Each party shall bear its own costs.
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       4.     This Court shall retain jurisdiction over this matter to enforce the terms of the

Settlement Agreement and Release between Berner, DVP and WorldPak.



Dated: January 5, 2011

STIPULATED AND AGREED:

/s/_W. Allen Woolley______________                    /s/_John W. Grove_______________
W. Allen Woolley                                      John W. Grove
Tiffany L. Carpenter                                  MAISEL & ASSOCIATES
WILDMAN, HARROLD, ALLEN & DIXON LLP                   200 North LaSalle Street
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Fax: (312) 201-2555                                   Attorneys for WorldPak International, LLC

Attorneys for Berner Food & Beverage, Inc.


/s/_Ryan S. Taylor ______________
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Attorneys for Diablo Valley Packaging, Inc.




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                               CERTIFICATE OF SERVICE

       W. Allen Woolley hereby certifies that he caused a true and correct copy of the foregoing

STIPULATION OF DISMISSAL, to be served on the following counsel of record via ECF on

January 5, 2011:

                      John W. Grove
                      Maisel & Associates
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                                            /s/_W. Allen Woolley______________




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